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                                       IN THE
                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )       No. 11cr212
               v.                             )
                                              )       Honorable James B. Zagel
CLIFTON WILLIAMS                              )


            MOTION FOR EARLY TERMINATION OF SUPERVISED RELEASE

       Defendant CLIFTON WILLIAMS, by the Federal Defender Program and its attorney,

MIANGEL CODY, respectfully requests that this Honorable Court enter an order terminating his

supervision early. In further support, Mr. Williams states as follows:

       1.      On July 7, 2009, the United States District court for the Southern District of Texas

sentenced Mr. Williams for a violation of 8 U.S.C. § 1324(a)(1)(B)(i) , which proscribes

transporting an undocumented person within the United States by means of a motor vehicle for

private financial gain. The Court imposed a sentence of one year and one day of incarceration,

followed by three years’ supervised release. Mr. Williams self surrendered and successfully

completed his sentence of incarceration.

       2.      Mr. Williams’s supervised release period began in May 2010. He has served over

one year of supervision without incident. He now requests an early termination as recognized by

the Seventh Circuit Court of Appeals in United States v. Lowe, 632 F.3d 996, 998 (7th Cir. 2011)

(“A district court may grant an early termination of a remaining term of supervised release after

one year of supervised release has elapsed and after the court considers certain factors in 18

U.S.C. § 3553(a), if the defendant's conduct and the interests of justice so warrant.”).
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       3.      The factors set forth in 18 U.S.C. § 3553(a) support early termination of

supervised release in this case. Since his release, Mr. Williams has been an exemplary

supervisee. He has maintained steady employment as a local truck driver for Fore Transportation

Services, which is located in Harvey, Illinois. In addition, Mr. Williams has responsibly fulfilled

every obligation imposed upon his by the Probation Office. He has completed the 75 hours of

court-ordered community service. He has paid his special assessment, and he has no outstanding

financial obligations to the Court. Mr. Williams does not have a history of substance abuse or

mental health issues, and he does not require ongoing supervision in that regard. He has

sustained no new arrests, cases or convictions.

       4.      Mr. Williams has complied with all of the conditions his release and derived all

of the benefits he can from his supervision. He has learned his lesson and, based upon his

conduct on supervision thus far, he has demonstrated that the trajectory of his life is toward

productive citizenship. There is no further need for him to remain supervised, and to do so would

unnecessarily tax the valuable and limited resources of the United States Probation Office. He

urges that the limited resources of the United States Probation Office are better utilized by

individuals more acutely in need of court supervision.

       5.      The United States Probation Office, through officer Katina Dean, interposes no

objection to this request for early termination of supervised release.




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       WHEREFORE, for the foregoing reasons, Mr. Clifton Williams respectfully asks the

Court to grant this motion for early termination of his supervision.



                                               Respectfully submitted,

                                               FEDERAL DEFENDER PROGRAM
                                               Carol Brook
                                               Executive Director


                                               By: s/ MiAngel Cody
                                                      MiAngel Cody



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                             CERTIFICATE OF SERVICE

        The undersigned, MiAngel Cody, an attorney with the Federal Defender Program, hereby
certifies that the following document:

         MOTION FOR EARLY TERMINATION OF SUPERVISED RELEASE

was served on July 12, 2011, in accordance with Fed. R. Civ. P. 5, LR 5.5, and the General
Order on Electronic Case Filing (ECF), pursuant to the district court’s ECF system as to ECF
filers, and was sent by first class mail or by hand delivery to non-ECF filers, if any.


                                            By:    s/ MiAngel Cody
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